      Case 4:17-cv-13294-LVP-EAS ECF No. 108-1 filed 08/02/18                                       PageID.5985            Page 1 of 2

Elizabeth Marzotto Taylor

                                          Melinda A. Balian <mbaiian@foleymansfield.com>
                                          Friday, January 19, 2018 1:36 PM
                                          Elizabeth Marzotto Taylor
                                          Deborah Gordon; Irina Vaynerman; Gregory M. Meihn; Krista M. Woerfel
                                          RE: Draft Joint 26(f) Case Management Report and Protective Order



At this point the documents which Defendants consider confidential include the following:

   • Documents contained within personnel files;
   • Documents contained within investigation files;
   • Any and all policies, regulations, operational rules of Defendants and/or the City of
     Melvindale Police Department;
   • Internal memos, correspondence, documents of Defendants and/or the City of Melvindale
     Police Department;
   • POAM Contract.


Melinda




Happy 20181 Viewourmessage!



                                  Melinda A. Ballan|Partner|T: 248-721-4200 - 616-723-8986|F: 248-721-4201
                                  130 East Nine Mile Road|Ferndale, Ml 48220|folevmansfield.com 13

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From: Elizabeth Marzotto Taylor [mailto:emarzottotaylor@deborahgordonlaw.com]
Sent: Friday, January 19, 2018 11:48 AM
To: Melinda A. Balian
Cc: Deborah Gordon; Irina Vaynerman; Gregory M. Meihn; Krista M. Woerfel
Subject: RE: Draft Joint 26(f) Case Management Report and Protective Order

Melinda,
Based on your preliminary responses to our discovery requests, we can't agree to the language you proposed
below. You indicated in your preliminary responses that you believe at least 57 categories of information and
documents should be covered by the protective order/treated as confidential. Under the language you proposed
below, this would result in a huge percentage of deposition testimony being considered confidential.

Surely you have a more specific idea by now of what information you want to keep confidential—for example,
police officer's home addresses, etc. Without more information on specifically what it is you're trying to
      Case 4:17-cv-13294-LVP-EAS ECF No. 108-1 filed 08/02/18                                       PageID.5986            Page 2 of 2
protect, we can't agree to the language you proposed. It's unfair to ask us to operate in the dark on this issue.
Please provide us a list of the specific pieces of information you want to protect. This can assist us in generating
some mutually agreeable language.

Please provide us more information on what specific pieces of information you are trying to protect as soon as
possible, so that we can come to an agreement on this language, and so that Defendants can produce the
documents that were due to Plaintiff on January 8, 2018.

Thanks,

Elizabeth A. Marzotto Taylor
Attorney & Counselor at Law
Deborah Gordon Law
33 Bloomfield Hills Parkway, Suite 220
Bloomfield Hills, Michigan 48304-2909
Phone:(248)258-2500
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emarzottotaylorfaldeboraheordonlaw.com


From: Melinda A. Balian fmailto:mbalian@folevmansfield.com1
Sent; Friday, January 19, 2018 11:18 AM
To: Elizabeth Marzotto Taylor
Cc: Deborah Gordon; Irina Vaynerman; Gregory M. Melhn; Krista M. Woerfel
Subject: RE: Draft Joint 26(f) Case Management Report and Protective Order

Why don't we find language somewhere in the middle which serves both of us so as to reduce
needless work after the deposition which can be avoided through this PO? For example, ifthere
is deposition testimony regarding an exhibit which has been produced through discovery and
marked "Confidential" then any deposition testimony/transcript regarding said exhibit shall also
be deemed "Confidential".




Happy 2018! View our message!



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From: Elizabeth Marzotto Taylor rmailto;emarzDttotavlor@deborahQordonlaw.com]
Sent: Friday, January 19, 2018 11:13 AM
To: Melinda A. Balian
Cc; Deborah Gordon; Irina Vaynerman; Gregory M. Meihn; Krista M. Woerfel
Subject: RE: Draft Joint 26(f) Case Management Report and Protective Order

Melinda,
